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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                     )
PETER P. STRZOK,                                     )
                                                     )
                               Plaintiff,            )
                                                     )
                       v.                            )       Case No. 1:19-CV-2367-ABJ
                                                     )
ATTORNEY GENERAL MERRICK B.                          )
GARLAND, in his official capacity                    )
as Attorney General of the United States, et al.,    )
                                                     )
                               Defendants.           )
                                                     )


       PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT ON COUNT TWO

       Plaintiff Peter P. Strzok files this Motion for Partial Summary Judgment pursuant to

Federal Rule of Civil Procedure 56, 57, and Local Rule 7(h). As set forth in the accompanying

Memorandum of Points and Authorities, no genuine issues of material fact exist as to the Plaintiff’s

entitlement to summary judgment in his favor on Count Two of the operative complaint, ECF No.

147. This Motion is accompanied by a memorandum in support (which is a consolidated

memorandum that also opposes Defendants’ Motion for Summary Judgment, ECF No. 150), a

statement of undisputed material facts, and a proposed order.
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Dated: October 31, 2024            Respectfully submitted,

                                   /s/ Christopher R. MacColl
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